                               IN THE LJNITED STATE,S DISTRICT COURT
                                  FOR THE DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,
                                                          INDICTMENT
             Plaintiff,
                                                              18 U.S.C. $ 1343
             v.                                               26 U'S.C.   S   7206(2)

 BEAU WESLE,Y GE,NSME,R,

             Defendant.



       THE I.JNITED STATES GRAND JURY CHARGE,S THAT:

                                  INTRODUCTORY ALLE,GATION                    S


       At all times relevant to this Indictment:

        1.        Defendant BEAU WESLEY GENSMER ("GENSMER") was a United States

citizen residing in the District of Minnesota.

       Z.         Kismet LLC ("Kismet") was a Minnesota corporation formed by GENSMER in

2012,with    a   principal office in Prior Lake, Minnesota.

        3.         The G Group Corp ("G Group") was a Minnesota corporation formed by

GENSMER in 2016, with a principal office in Prior Lake, Minnesota.

        4.         GENSMER utilized Kismet and G Group to provide purportedly legitimate

services in connection with the preparation and filing of LJ.S. Individual Income Tax Returns    -
Forms 1040.

        5.         Taxpayers S.M., A.B., E.8., P.B., D.B., D.B.-H., J.K., and S.B. ("Clients") were

members of the Shakopee Mdewakanton Sioux Community ("SMSC"), a Native American tribe

that owns and operates the Mystic Lake and Little Six casinos in Prior Lake, Minnesota'

        6.         R.R. was a tax return preparer based in Brooklyn Center, Minnesota. GbNSMER
 hired R.R. in or around 2013 to prepare at least six tax returns on behalf of Clients.

        7   .    T.B. was a tax return preparer who worked for an Anchorage-based payroll and

 tax preparation company. Beginning in or around 2014, GENSMER hired T.B. to prepare tax

 returns on behalf of Clients and others. 1n2016, T.B. started her own tax preparation business in

Anchorage, Alaska.

        8.       Sioux Native American Church of Shakopee ("SNACOS") was a Minnesota

non-profit corporation formed by GENSMER on or around March 1,2016.

        9.       The Internal Revenue Service (lRS) was part of the United States Department    of
the Treasury and, among other things, was responsible for administering the tax laws of the

United States and collectins taxes.

                                            The Scheme

        10.      Beginning in or around 2012, GENSMER approached members of SMSC,

offering to assist in the preparation of their income tax returns in exchange for a percentage of

any tax refund they received. GENSMER told Clients and other SMSC members that thev were

entitled to larger refunds than what they had previously received.

        1   1.   Clients and others hired GENSMER to assist with the preparation of their tax

returns and agreed to pay GENSMER a portion of their refund. Between 2013 and2018,

GENSMER assisted in the filing of numerous false and fraudulent income tax returns for tax

years 201 1 through 2017, claiming larger refunds than to which Clients and others were entitled.

        12.      Once Clients and others hired GENSMER, he directed them to provide him with

receipts of personal expenditures and financial information, including bank statements and bank

login information. GENSMER told Clients and others that their personal activities and

expenditures could be classified as business expenses, and that they were entitled to take
 deductions for most of those costs.

        13.      GENSMER created limited liability corporations and obtained Employer

Identification Numbers from the iRS on behalf of some clients.

        14.      GENSMER falsely and fraudulently listed Clients' personal expenditures        as

expenses attributable to such businesses, reducing Clients' reported taxable income and tax

liability, thereby increasing the size of their tax refunds.

        I   5.   In or around 2014, when R.R. expressed concern over the large deductions that

GENSMER reported to R.R. on behalf of a client, GENSMER approached T.B. about preparing

Clients' and others' tax returns. T.B. agreed to prepare Clients' and others' tax returns, including

those filed for 2016 and 2017, using information provided by GENSMER.

        16.      GENSMER drafted and prepared documents          -   referred to by GENSMER   as

"breakdowns"     -   for Clients and others that fraudulently characterized. personal expenditures and

assets as having legitimate business purposes, listing, among other items, false and fraudulent


charitable contributions, false and fraudulent business expenses, and false and fraudulent

partnership expenses.

        f7   '   GENSMER sent these breakdowns, containing false and fraudulent information,

via email from Minnesota to T.B. in Alaska, who relied on them to prepare Clients' and others'

income tax returns.

       18.       GENSMER caused Clients and others to sign andlor authorize the filing of their

respective income tax returns without reviewing them, or explaining the claims and deductions

contained therein, before they were filed with the IRS.

       19.       GENSMER instructed Clients and others to pay him approximately 30% of their

refunds as a commission or consulting fee.
         20.    GENSMER paid T.B. approximately $2,500 per tax return she prepared, whereas

T.B. typically received approximately $125 to $150 per individual income tax return she

prepared for taxpayers not associated with GENSMER.

         21.    In or about March 2016, GENSMER registered SNACOS as a Minnesota

non-profit corporation on behalf of S.M., A.8., and J.K., who believed it to be a legitimate

non-profit to be used to create a family church that would host religious rituals and community

gatherings.

         22'    SNACOS, however, did not engage in any legitimate business or charitable

activity from its founding in2016 to its administrative dissolution in 2020.nor was a church ever

built.

         23.    The false and fraudulent losses and deductions claimed on Clients' and others'

income tax retums changed year-to-year. For Clients' 2016 income tax returns, GENSMER

used SNACOS as a vehicle to claim false partnership losses and unreimbursed partnership

expenses.


         24.    For Clients' 2017 income tax returns, GENSMER used SNACOS as a vehicle to

claim false charitable cash contributions. Clients never made cash contributions to SNACOS. nor

did any of them tell GENSMER that they had made such donations.

         25.    GENSMER provided T.B. with false documentation attributable to SNACOS

supporting the over $3 million in false losses for tax year 2016 and over $686,000 in false

charitable contributions for tax year 2077, that were listed on the tax returns identified in Counts

7 through 20.

         26.    The fraudulent tax returns identified in Counts 7 through 20 resulted in a total tax

loss of approximately   $   I .5   million. GENSMER received over $410,000 in the form of
commission payments for his assistance in the preparation of the tax returns identified in Counts

7 throush20.




                                                 COUNTS 1.6

                                                  Wire Fraud
                                              (18 U.S.C. S 1343)

           27.     The factual allegations in Paragraphs    I through 26 of this Indictment   are realleged

and incorporated as though      fully   set forth herein.

           28'    Beginning in or about February 2013, and continuing through at least in or about

April 2018, the exact dates being unknown to the Grand Jury, in the State and District of

Minnesota and elsewhere, the defendant, BEAU WESLEY GENSMER, did knowingly devise a

scheme and artifice to defraud and to obtain money and property by means of materially false

an   d fraudu lent pretenses, repre sentati ons, and promi ses.

           29.    On or about the dates listed below, in the State and District of Minnesota and

elsewhere, the defendant, BEAU WESLEY GENSMER, for the purpose of executing the scheme

and artifice described above, knowingly transmitted and caused to be transmitted by means of a

wire communication in interstate commerce, ceftain writings, signs, signals, and sounds, from

Minnesota to Alaska, including the following:

                  Date
 Count        (on or about)                                       Wire Detail
                                An email from GENSMER to T.B. containing a breakdown of false and
                 219t2018
                                fiaudulent information pertaining to D.B.-H.'s tax return for 2017
                                An email from GENSMER to T.B. containing a breakdown of false and
      2          2110t2018
                                fraudulent information pertaining to A.B.'s tax retum for 2017
                                An email from GF,NSMER to T.B. containing a breakdown of false and
      3          2t12t2018
                                fraudulent information pertaining to S.B.'s tax return for 2017
                                An email from GENSMER to T.B. containing a breakdown of false and
      +A         2t18t2018
                                fraudulent information pertaining to D.B.'s tax return for 2017
                   Date
   Count                                                          Wire Detail
               (on or about)
                                An email from GENSMER to T.B. containing a breakdown of false and
     5          3110t2018
                                frauduf ent information pertaining to E.B.'s tax return for 2017
                                An email from GENSMER to T.B. containing a breakdown of false and
     6          4t15t2018
                                l'raudulent information pertaining to P.B.'s tax return for 2017

         All in violation of Title   18, United States Code. Section 1343.




                                               COUNTS 7-20

                  Aiding and Assisting in the preparation of a False Tax Return
                                         (26 u.s.c. s 7206(2))

         30.     The factual allegations in Paragraphs     1   through 26 of this Indictment are reallesed

and incorporated as though     fully   set forth herein.

         31.     On or about the dates specified below for each Count, in the State and District           of
Minnesota and elsewhere, the defendant, BEAU WESLEY GENSMER, did                     willfully aid   and

assist in, and procure, counsel, and advise the preparation and presentation to the IRS, of U.S.

lndividual Income Tax Returns - Forms 1040, for the taxpayers and tax years specified in the

chart below.

         32.     The tax returns were false and fraudulent as to material matters, in that they

repofted, among other items, partnership losses, business expenses, and charitable contributions,

as specified in the chart below, whereas GENSMER then and there knew the taxpayers were not

entitled to claim the respective partnership losses, business expenses, charitable contributions,

and other items, in the dollar amounts claimed.
Count         Date Filed      Taxpayer     Tax Year                                      Amounts
                                                                 False Items
                                                                                         Renorted
  7                126t2017
                                                             Schedule F.,Line 32,
               |                S.M.          2016                                       -s456,394
                                                             Total partnership loss
               1t26t2017                                     Schedule E, Line -')
  8                             A.B.          2016                                       -$389,793
                                                             Total partnership loss
              2^3t2018                                       Schedule A, Line 19,
  9                             A.B.          2017                                       $ 185,875
                                                                Gifts to charitv
 l0            2t7t2017         E.B.
                                                             Schedule   E,Line    32,
                                              2016       'l'otal partnershio loss       -s446,419
                                                           Schedule C, Line 1
                                                              Gross receipts
                                                                                         $t3,lgl
 ll                                                       Schedule C, Line 28,
              3120t2018         E.B.          2017                                       s149,772
                                                              Total expenses
                                                         Schedule A, Line 19,
                                                                                         $ 95,399
                                                              Gifts to charity
 l2                                                       Schedule F., Line 32,
              3/2U2017          P.B.         2016                                       -$177,025
                                                         Total partnershin loss
                                                          Schedule      A, Line   19,
                                                               Gifts to charity          s22,709
 1a
 IJ           4t30t2018         P.B.         2017         Schedule      A,Line 21.
                                                        Unreimbursed employee            $ 54,949
                                                               expenses
 t4           2t10/2017                                  Schedule E, Line 32,
                               D.B.          2016       'fotal partnership loss         -$372, l 08

                                                          Schedule C, Line 1,
                                                                                          $ 1,693
                                                            Gross receipts
                                                         Schedule C, Line 28,
                                                            Total expenses               $62,495
 l5           3tst2018         D.B.          2017
                                                       Form 4684, Line 31, Net
                                                                                        -$ 1 34,1 50
                                                         casualty or theft loss
                                                         Schedule A,      Line    19,
                                                                                        $ I 13,365
                                                            Gifts to charitv
              2t3t2017                                   Schedule E, Line "-a
16                            D.B.-H.        2016                                       -$469,018
                                                         Total partnership loss
t7                                                       Schedule A, Line 19,
              2t12t2018       D.B.-H.        2017                                       $ 164,870
                                                            Gifts to charitv
l8            2t7t2017         J.K.
                                                         Schedule       E,Line   32.
                                             2016        'l'otal partnership loss       -$489,563

t9            U26t2017                                   Scheduf e      E,Line   32.
                               S.B.          2016                                       -q?o) { l o
                                                         Iotal partnership loss
?n                                                       Schedule A, l,ine 19,
             2t27t2018         S.B.          2017                                       $129,816
                                                            Gifts to charitv

      All   in violation of Title 26, United States Code. Section 7206e).
                                        FORF EITURE       ALLEGATION       S


          33.     Counts I through 6 of this Indictment are hereby realleged and incorporated as if

fully   set forth herein, for the purpose   of alleging forfeitures pursuant to Title 18, United States

code, Section 981(a)(l)(c), and Title 28, United States code, Section 2461(c).

          34.    If convicted of one or more of Counts I through 6 of this Indictment,       the

defendant, BEAU WESLEY GENSMER, shall forfeit to the lJnited States pursuant to Title 18,

United States Code, Section 931(a)(1)(C), and Title 28, United States Code, Section 2461(c), any

property, real or personal, which constitutes or is derived from proceeds traceable to the

violations of Title 18, United States Code, Section 1343.

         35.     If any of the above-described forfeitable property is unavailable for forfeiture,    the

United States intends to seek the forfeiture of substitute property as provided for in Title 21,

United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section

982(bX1) and by Title 28, United States Code, Section 246I(c).




                                               A TRUE BILL




TzuAL ATTORNEY                                              FOREPERSON
